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 19                       IN THE UNITED STATES DISTRICT COURT
 20                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 21                                    SOUTHERN DIVISION
 22    MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
       a Delaware corporation; and            )
 23    CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS’ MEMORANDUM IN
       a Delaware corporation                 ) OPPOSITION TO APPLE’S OFFER
 24                                           ) OF PROOF IN SUPPORT OF ITS
                     Plaintiffs,              ) UNCLEAN-HANDS DEFENSE
 25                                           )
              v.                              )
 26                                           ) Trial: 4/4/2023
       APPLE INC., a California corporation   )
 27                                           )
                     Defendant.               )
 28                                           )
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  1          Apple’s “offer of proof” improperly assumes a pretrial ruling of law, relies
  2   on a theory never disclosed, and is contrary to Brown. Further, Apple’s unclean-
  3   hands defense is incompatible with Apple’s successful argument that its hiring of
  4   other Masimo employees is irrelevant. Those employees’ ability to move to Apple
  5   shows Masimo’s contract did not inhibit employee mobility. Allowing Apple to
  6   present its theory would open the door on the Court’s in limine rulings.
  7   A.     Apple Is Not Entitled To A Pretrial Invalidity Ruling
  8          Apple argues the Court was wrong to suggest it is “too late” to resolve the
  9   “Section 16600 issue because Apple did not raise the question at summary
 10   judgment.” Br. at 2. The Court never suggested a summary judgment motion was
 11   necessary “to preserve the right to raise a legal issue later in the case.” Id. The
 12   Court held merely that it was too late to resolve Apple’s invalidity challenge as a
 13   matter of law before trial. Thus, Apple’s unclean-hands defense will need to be
 14   addressed at or after trial.
 15   B.     Apple’s Unclean-Hands Theory Is Untimely
 16          During discovery, Apple never disclosed that it would argue its unclean-
 17   hands defense was supported by Masimo’s confidentiality provisions. Br. at 2.
 18   Apple’s Answer and interrogatory responses relied on non-compete provisions.
 19   Dkt. 306 at ¶¶399-405; Ex. A at 68. After this Court upheld Masimo’s contracts
 20   in Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396 *4-5, ¶11 & ¶16
 21   (C.D. Cal. Nov. 7, 2022), Apple waited until February 2023 to mention it was now
 22   relying on confidentiality provisions (Dkt. 1304-2).
 23          Apple cannot show its failure to disclose was substantially justified or
 24   harmless under Rule 37(c). Apple prevented Masimo from developing rebuttal
 25   evidence, including evidence showing the confidentiality provisions are common
 26   in the industry and have not chilled any employee mobility. Masimo would have
 27   garnered evidence about the hundreds of people who freely left Masimo despite
 28   the agreements. About twenty of them went to Apple, but Apple blocked discovery
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  1   about them. Apple also prevented Masimo from moving for summary judgment.
  2   Because Apple restricted discovery and withheld its theory, the Court should not
  3   allow Apple to proceed on its new theory based on the confidentiality provisions.
  4   C.    The Confidentiality Provisions Are Valid
  5         Apple argues Masimo’s confidentiality provisions facially “violate section
  6   16600” under Brown v. TGS Mgmt. Co., 57 Cal. App. 5th 303 (2020), and should
  7   be invalidated as a “legal issue.” Br. at 2. Apple is wrong. Brown addressed a
  8   unique “confidentiality” provision that was not directed to confidential
  9   information. Instead, it barred the use of any “information, in whatever form, used
 10   or usable in, or originated, developed or acquired for use in, or about or relating to,
 11   the Business.” Brown, 57 Cal. App. 5th at 316. The court found the provision
 12   facially impaired employee mobility because it barred individuals “from doing any
 13   work in the securities field[.]” Id. at 317-18.
 14         Unlike Brown, Masimo’s confidentiality provisions do not encompass all
 15   information that is “usable in” or “relates to” a field.           Rather, Masimo’s
 16   confidentiality provisions are limited to information that Masimo treats as
 17   confidential. Dkt. 1318-4 at 4. Such provisions are common in the industry.
 18   Indeed, Apple uses similar provisions. Ex. B at 3; Ex. C at 3. The confidentiality
 19   provision here bears no resemblance to the provision in Brown.
 20         Apple also cites Western Air, Dowell, and AMN Healthcare, but courts
 21   distinguish those cases because they addressed non-solicitation and non-compete
 22   agreements. See Magic Leap, Inc. v. Chi Xu, 2020 WL 3268659, at *4 (N.D. Cal.
 23   June 17, 2020); Aramark Mgmt., LLC v. Borgquist, 2021 WL 3932258, at *9 (C.D.
 24   Cal. July 8, 2021). Apple cites no case invalidating a confidentiality provision
 25   similar to the provision here, much less as a matter of law on truncated briefing.
 26   And Apple ignores the cases Masimo cited that enforced similar confidentiality
 27   provisions. See Dkt. 1334 at 6 (citing Zuckerman, Gatan, and Merrill Lynch).
 28         Far from raising a facial challenge, Apple argues Masimo has “subjective
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  1   control” and could, in theory, try to apply the agreements too broadly. Br. at 2. By
  2   challenging how Masimo could apply the contracts, Apple necessarily raises an “as
  3   applied” challenge, making validity an issue of fact. See SPS Techs., LLC v. Briles
  4   Aerospace, Inc., 2019 WL 6841992, at *14 (C.D. Cal. Oct. 30, 2019) (whether
  5   contracts “operate as a substantial restraint for purposes of section 16600 is a fact-
  6   intensive inquiry”).
  7         Here, hundreds of employees (who signed the same agreements as Lamego
  8   and O’Reilly) left Masimo—often to work for competitors—without any issues.
  9   Dkt. 1334-1, Ex. C at 52:4-20. Indeed, about twenty people left Masimo to work
 10   for Apple. Apple cites no evidence that the confidentiality provision prevented
 11   anyone from working in his or her field. Apple also cites no evidence that Masimo
 12   ever tried to enforce the agreements as broadly as Apple claims is possible.
 13   D.    Non-Compete And Non-Solicitation Provisions Do Not Render The
 14         Confidentiality Provisions Unenforceable
 15         Apple argues the agreements include “non-compete and non-solicitation”
 16   provisions. Br. at 3. But Apple itself cites evidence showing Masimo does not
 17   attempt to enforce such provisions in California. See Br. at 4 (citing Dkt. 1318-1
 18   at 286-87). Nor has Masimo relied on those provisions in this case or enforced
 19   them against Lamego, O’Reilly, or others who went to Apple. Thus, Apple cannot
 20   show these provisions have any “connection” to the “matter in controversy,” which
 21   would be required to prevail on an unclean-hands defense.            See Fladboe v.
 22   American Isuzu Motors Inc., 150 Cal. App. 4th 42, 56 (2007).
 23         These provisions also do not render other provisions void. Even if a contract
 24   includes unenforceable clauses, California enforces the remaining obligations.
 25   Cal. Civ. Code § 1599; Jones v. Humanscale Corp., 130 Cal. App. 4th 401, 413
 26   (2005). Masimo’s contracts specifically state: “The laws of each state differ. Thus,
 27   if any provision of this Agreement is invalid or not permitted in your particular
 28   state of residence, all other provisions shall remain in effect.” Dkt. 1305-2, Ex. 4
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  1   ¶ 21. Apple’s arguments are also refuted by this Court’s holding that Masimo’s
  2   confidentiality provisions are enforceable despite the non-compete provisions. See
  3   True Wearables, 2022 WL 17083396 at *4-5, ¶11 & ¶16.
  4   E.    Apple’s Unclean-Hands Theory Is Contrary To Law
  5         Apple cites no case supporting its theory of unclean hands. To the contrary,
  6   Apple’s own lead authority, Brown, rejected Apple’s argument. In Brown, the
  7   court “disagree[d]” that finding the contractual provisions invalid would “strip [the
  8   company] of its ability to protect its confidential information, including trade
  9   secrets.” 57 Cal. App. 5th at 317. The court explained that even a facially invalid
 10   confidentiality provision would not limit the company’s ability to “prevent former
 11   employees from disclosing trade secrets and other confidential information by
 12   pursuing injunctive relief and tort remedies under the Uniform Trade Secrets Act
 13   and the unfair competition law.” Id. (internal citations omitted); see also Meribear
 14   Productions Inc. v. Baer, 2021 WL 1747384, at *4 (Cal. Super. Apr. 01, 2021)
 15   (citing Brown and rejecting similar argument).        Thus, invalid confidentiality
 16   provisions in employment agreements do not bar a claim under CUTSA.
 17         Apple also has no support for its assertion that Masimo “knew” the contracts
 18   were invalid at the time people signed them. See Br. at 4. Apple relies on cases
 19   from 2017-2020 (Br. at 1)—many years after O’Reilly and Lamego signed their
 20   employment agreements at Masimo. Thus, those 2017-2020 cases could not be
 21   evidence that Masimo thought the provision was unenforceable before 2014.
 22         Apple cites Kiani’s testimony about the enforceability of the non-compete
 23   provisions in California. Br. at 4. First, Kiani’s testimony says nothing about the
 24   confidentiality provisions. Second, Kiani also testified that Masimo does not
 25   enforce the non-compete provisions in California. Dkt. 1318-1 at 285-286. As
 26   discussed, Masimo’s agreements apply to employees around the country and
 27   explain that any provision not enforceable in the employee’s state does not apply.
 28         Apple also argues Masimo “weaponized” the agreements to “threaten
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  1   Apple” not to employ Lamego or O’Reilly. Id. That argument proves that the
  2   agreements do not restrict employee mobility. Despite the supposed “threat,”
  3   Apple actually hired Lamego, O’Reilly, and about twenty others from Masimo.
  4   F.    Apple’s Alternative Ground For Instructing The Jury Lacks Merit
  5         Apple argues the validity of Masimo’s contracts is relevant to whether
  6   Masimo took “reasonable” efforts to protect its trade secrets. Br. at 5. As support,
  7   Apple cites Steinberg v. Dunn, 136 F. App’x 6, 10 (9th Cir. 2005), but that case
  8   held the jury should be told a non-compete clause was invalid in a case asserting
  9   breach of that clause. Moreover, CUTSA addresses whether the plaintiff did
 10   enough to protect its trade secrets—not whether the plaintiff did too much to
 11   protect its trade secrets. See Cal. Civ. Code § 3426.1(d)(2).
 12   G.    Allowing Apple To Present Unclean Hands Would Open The Door On
 13         Evidence Apple Successfully Excluded In Limine
 14         Apple argues the Court should exercise its discretion to allow the jury to
 15   resolve unclean hands. Br. at 4-5. In doing so, Apple seeks to leverage two of the
 16   Court’s in limine rulings to obtain a ruling that is inconsistent with the evidence it
 17   successfully excluded. First, Apple intends to argue that Masimo’s employment
 18   contracts prevent employees from working for competitors. Br. at 4. But Apple
 19   succeeded in excluding evidence that about twenty people other than O’Reilly and
 20   Lamego freely left Masimo to work for Apple. See Dkt. 1469 at 2-4. In fact, no
 21   other competitor has hired as many Masimo employees as Apple. Second, Apple
 22   intends to argue Masimo’s employment contracts are unenforceable and prevent
 23   Masimo being able to protect its trade secrets. Br. at 5. But Apple succeeded in
 24   excluding evidence that Masimo successfully enforced its employment contracts
 25   against Lamego when he took Masimo’s trade secrets. Dkt. 1469 at 1-2.
 26         Masimo should be given a fair opportunity rebut Apple’s counter-factual
 27   arguments on unclean hands. That rebuttal, whether the issue is decided by the
 28   Court or the jury, should include the currently exclude evidence discussed above.
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  1                                   CERTIFICATE OF COMPLIANCE
  2              The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor

  3   Laboratories, Inc., certifies that this brief contains 1,643 words, which [choose one]:

  4   X complies with the word limit of L.R. 11-6.1.

  5   __ complies with the word limit set by court order dated [date].

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